PX54
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX


    Responses cannot be edited



    Circle Asset Listing Form
    Thank you for your interest in listing your project with Poloniex! Please ﬁll out the below form and we will
    get back to you shortly about your application.



    Email
    address *

    sergey@gramvault.com




    Introduction


    What is the name of your
    asset?

    Gram




    What is the name of your
    project?

    Telegram Open Network




    What is your full
    name?

    Sergey Vasin




                                                                                                                   POLO000001
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX

  How are you associated with this project? What is your position within
  the team?


  COO at the largest custody of Gram tokens (75% of the second round, 50% of the
  ﬁrst). Telegram itself doesn't work with the exchanges




  Is your asset a
  security?

      Yes


      No



  If available, please attach a legal opinion certifying that your asset is
  not a security.


  Have you submitted this asset to our exchange in the
  past?

      Yes

      No



  What is the ticker symbol of your
  asset?

  GRAM




                                                                                   POLO000002
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX

  What is the URL of the project
  website?

  https://test.ton.org




  What is the URL of your
  whitepaper?

  https://test.ton.org/ton.pdf




  Provide the URL for a blockchain
  explorer.

  https://test.ton.org/testnet/




  Technology

  Provide the URL of your project's Github
  repo.

  https://github.com/ton-blockchain/ton




                                             POLO000003
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX

  If relevant: How many public nodes are online? Where can this
  information be found publicly?
  ~1000. Precise calculation is not feasible as it requires working through the DHT of each
  node.




  How many actively developed client implementations exist for your
  project?




  Is your project open-source? Please provide a link to any relevant
  developer documentation.
  Source code is available at https://github.com/ton-blockchain/ton




  How many full-time members of the team are working on this project?
  About how many individuals actively contribute to the project outside
  of the team?
  Around 20 core plus external teams, including Ton labs circa 25




  Is there a working MVP of the platform or application? Is a
  demonstration of the platform available?
  Testnet is publicly available. Learn more at https://test.ton.org.




  Do you have a bug bounty program? Please provide the URL for the
  bounty.




                                                                                              POLO000004
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX

  Was a security audit performed for the token sale smart contract?
  (Please attach)

      Note_re_fundraisi…




  Has a security audit ever been performed on the project? (Please
  attach)




  People




                                                                      POLO000005
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX

  Please list the members of your leadership team and the URLs of their
  LinkedIn/Github pages. What are their backgrounds?
  Founders
  Nikolai Durov - https://en.wikipedia.org/wiki/Nikolai_Durov
  PhD (Bonn University), PhD (Saint-Petersburg State University)
  › 2013-present: Co-founder, CTO, Architect, Lead C/C++ Engineer at Telegram. Built
  MTProto and Telegram’s distributed data storage engines.
  › 2006-2013: Co-founder, CTO, Architect, Lead C/C++ Engineer at VK. Built data
  storage and networking software.
  Awards
  › Absolute World Champion in Programming (2000, 2001) — one of ten people in history
  to win the ACM International Collegiate Programming Contest twice
  › Gold Medals in International Mathematical Olympiads (1996, 1997, 1998)
  › Gold and Silver Medals in International Olympiads in Informatics
  (1995, 1996, 1997, 1998)


  Pavel Durov - https://en.wikipedia.org/wiki/Pavel_Durov
  › 2013-present: Co-founder, CEO, Product Manager at Telegram
  › 2006-2013: Co-founder, CEO, Product Manager, Lead Developer at VK
  Awards
  › The most promising Northern European leader under 30 (2014)13
  › Young Global Leader by the World Economic Forum (2017)14

  Other notable Team members
  Aliaksei Levin - https://github.com/levlam
  › 2013-present: C/C++ Engineer at Telegram. Developed distributed data storage
  engines, client cross-platform libraries, and the bot API.
  › 2010-2013: C/C++ Engineer at VK. Built data storage engines and created the custom
  programming language KPHP for high-level backend developers.
  Awards
  › Gold Medal, ACM International Programming Contest World Finals (2011)
  › Silver Medal, ACM International Programming Contest World Finals (2010)
  › First Prize, International Mathematics Competition for University Students (2009)
  › Gold Medal, First Place, International Mathematical Olympiad (2005)
  › Silver Medal, International Mathematical Olympiad (2004)


  Vitalik Valtman - https://github.com/vysheng
  › 2013-present: C/C++ Engineer at Telegram. Developed networking and data storage
  engines.




                                                                                         POLO000006
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX
   2010-2013: C/C++ Engineer at VK. Developed networking and data storage engines.
  Awards
  › Silver Medal, ACM International Programming Contest World Finals (2006)
  › 4th place, Top Coder Open
  › 4th place, Top Coder Collegiate Contest


  Arseny Smirnov - https://www.linkedin.com/in/arseny-smirnov-36192529/
  › 2013-present: C/C++ Engineer at Telegram. Developed server data storage engines,
  client cross-platform libraries, and bot API.
  › 2010-2013: C/C++ Engineer at VK. Developed data storage engines and created the
  custom programming language KPHP for high-level backend developers.
  Awards
  › Gold Medal, ACM International Programming Contest World Finals (2011)
  › Silver Medal, ACM International Programming Contest World Finals (2010)




  Do the founders have experience building crypto projects in the
  past?
  Telegram messenger applies cryptographic protocols for data encryption




  Who are your
  advisors?
  Skadden
  https://www.skadden.com/




  Has your project partnered with any notable partners, organizations, or
  individuals in terms of technology?




                                                                                       POLO000007
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX

  Please list the members of your engineering team and the URLs of
  their LinkedIn/Github pages. What are their backgrounds?
  Aliaksei Levin - https://github.com/levlam
  › 2013-present: C/C++ Engineer at Telegram. Developed distributed data storage
  engines, client cross-platform libraries, and the bot API.
  › 2010-2013: C/C++ Engineer at VK. Built data storage engines and created the custom
  programming language KPHP for high-level backend developers.
  Awards
  › Gold Medal, ACM International Programming Contest World Finals (2011)
  › Silver Medal, ACM International Programming Contest World Finals (2010)
  › First Prize, International Mathematics Competition for University Students (2009)
  › Gold Medal, First Place, International Mathematical Olympiad (2005)
  › Silver Medal, International Mathematical Olympiad (2004)

  Vitalik Valtman - https://github.com/vysheng
  › 2013-present: C/C++ Engineer at Telegram. Developed networking and data storage
  engines.
  › 2010-2013: C/C++ Engineer at VK. Developed networking and data storage engines.
  Awards
  › Silver Medal, ACM International Programming Contest World Finals (2006)
  › 4th place, Top Coder Open
  › 4th place, Top Coder Collegiate Contest

  Arseny Smirnov - https://www.linkedin.com/in/arseny-smirnov-36192529/
  › 2013-present: C/C++ Engineer at Telegram. Developed server data storage engines,
  client cross-platform libraries, and bot API.
  › 2010-2013: C/C++ Engineer at VK. Developed data storage engines and created the
  custom programming language KPHP for high-level backend developers.
  Awards
  › Gold Medal, ACM International Programming Contest World Finals (2011)
  › Silver Medal, ACM International Programming Contest World Finals (2010)




                                                                                         POLO000008
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX
  Business model

  Please describe the utility of holding or using your project's token.
  The Gram token will be used in TON as gas is used in the Ethereum network.




  What problem is your project attempting to solve?
  Speed and scalability problems of the currently existing decentralized blockchains.




  Describe who you consider to be your biggest competition, and how
  your project provides unique value.
  Other blockchains, including ETH. Unique value proposition comes from the 300 mln
  user base of the Telegram messenger and the scalable design of hypercube routing




  If relevant: Are there any upcoming cryptocurrency projects that are
  being launched on your platform (e.g. ICOs, airdrops)? If so, please
  provide some information about what these projects are and their
  expected timelines.
  no




  Please provide a product roadmap for your project, including
  milestones.
  Deployment of the stable version of TON
  Launch of Telegram Wallet
  Creation of a TON-based economy in Telegram Launch of TON Services, TON Storage,
  and TON Proxy




                                                                                        POLO000009
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX

  Is there a treasury or other mechanism for allocating funds to pursue
  future business development, incentivize new entrants to participate in
  the network, and/or fund bounties?

  Yes, 10% of the initial 5bn supply of Grams is allocated as incentives




  Market dynamics

  Did an ICO take place at any stage of the
  project?

      Yes

      No



  If yes: What date did the ICO start on, and when did it
  end?

  2018-01-29, 2018-03-14




  If yes: how many people participated? How much money was raised?
  Were there participation caps? What was the hard cap? Please
  provide as many details as possible on the terms of the sale.
  175 investors participated in two private rounds.




                                                                            POLO000010
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX

  Is total supply either ﬁxed, or adjustable via algorithmic issuance
  model? If capped: what is the total supply? What is the circulating
  supply?
  Starting total supply is 5 billion of Grams. It is not ﬁxed, it will constantly grow by mining
  rewards received by validators of the network.




  What percentage of the supply is currently held by the founding team?
  What is the vesting schedule for these coins/tokens?
  28.19 of the initial supply forms the TON reserve. Another 4% attributes to developers
  with a 4 year vesting




  Is your project currently listed on an exchange? Which ones? Has it
  ever been delisted from an exchange?
  Coinbase announced their intention to list Grams




  Which social platforms does your community use? How many people
  do you have in each community? Please include URLs for these
  communities.
  Telegram Messenger has a 300mln+ user base.




  Provide the URLs for any blogs or communication platforms operated
  by your team. Please be thorough and include any channels that you
  use for announcements or communication.
  https://twitter.com/telegram




                                                                                                   POLO000011
CONFIDENTIAL FOIA TREATMENT
REQUESTED BY CIRCLE AND POLONIEX

  If your project is live: How many users have you acquired? How many
  users are active?
  Telegram Messenger has a 300mln+ user base.




  Do you have committed investment from ﬁnancial institutions, venture
  capital, or inﬂuential individual investors?
  Funds were collected only from qualiﬁed investors who successfully passed AML and
  KYC procedures. This includes top US venture capital ﬁrms.




  Are there any notable protocol events coming up (e.g. future forks,
  future mainnet releases, future change to consensus algorithm, etc.)?
  How do you plan to inform the community of upcoming protocol events
  going forward?
  Mainnet will be released by October 31rd 2019




  Please provide a contact on the developer team we can reach out to in
  the event of a technical issue. What is your expected response time?
  https://t.me/tondev_en




  Please provide a link to your implementation
  guide.
  https://test.ton.org/




                                                                   Submitted 9/20/19, 9:32 AM




                                                                                                POLO000012
